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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

KARISSA VACKER, MARK BOYETT,    )
BRIAN LARSON, IRON TOWER PRESS, )
INC., and VAUGHN HEPPNER,       )
                                )                    C.A.
            Plaintiffs,         )
                                )
       v.                       )                    JURY TRIAL REQUESTED
                                )
ELEVEN LABS, INC.,              )
                                )
            Defendant.


                                         COMPLAINT

       Plaintiffs KARISSA VACKER, MARK BOYETT, BRIAN LARSON, IRON TOWER

PRESS, INC. AND VAUGHN HEPPNER (collectively, “Plaintiffs”) file this Complaint for

misappropriation of their likenesses and publicity rights and violations of the Digital Millennium

Copyright Act against Defendant, ELEVEN LABS, INC. (“ElevenLabs” or “Defendant”).

                                       INTRODUCTION

       Plaintiffs Ms. Karissa Vacker (“Vacker”) and Mr. Mark Boyett (“Boyett”) (collectively,

the “Voice-Actor Plaintiffs”) are highly accomplished professional voice actors. Plaintiffs Brian

Larson (“Larson”), Iron Tower Press, Inc. (“ITP”) and Vaughn Heppner (“Heppner”) (collectively

the “Author/Publisher Plaintiffs”) are authors and publishers that own copyrights in works narrated

by Mr. Boyett. Defendant ElevenLabs offers text-to-speech services through its website and

Application Programming Interface (“API”), allowing users to create synthetic audio narrations of

written text. Defendant’s system employs generative artificial intelligence to clone voices,

synthesize speech, and perform multilingual voice-to-voice translation.

       As professional voice actors, Vacker and Boyett rely on their distinctive voices and

speaking styles as the foundation of their livelihoods and professional identities. ElevenLabs
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misappropriated the Voice-Actor Plaintiffs’ voices and likenesses by, among other things, creating

voice clones that it named “Bella” and “Adam,” respectively, and is using them without Voice-

Actor Plaintiffs’ consent or compensation to promote its services, attract millions of users, and

generate significant revenue, market value, and investment. These voice clones mimic Plaintiffs’

distinctive vocal timbres, accents, intonation, pacing, vocal mannerisms, and speaking styles—

delivering a synthetic professional narration that friends and family recognize as their voices,

allowing ElevenLabs to profit from Voice-Actor Plaintiffs’ valuable assets.

       In the process of creating Bella and Adam, ElevenLabs also violated the Digital

Millennium Copyright Act (“DMCA”) by circumventing technological measures protecting

Author/Publisher Plaintiffs’ copyrighted audiobook narrations and removing or altering copyright

management information to train its AI system without authorization.

       ElevenLabs is liable to Plaintiffs for misappropriation of likeness, identity, and publicity

rights under Texas and New York law, as well as violations of the DMCA’s anticircumvention

provisions and Copyright Management Information (17 U.S.C. §§ 1201 and 1202); Plaintiffs seek

injunctive relief, damages, and other remedies.

                                           PARTIES

       1.      Plaintiff Karissa Vacker is an award-winning professional voice actress who creates

audiobook narrations of published written works for publishers who distribute them on common

audiobook subscription services and through digital retail outlets. In addition to audiobooks,

Vacker provides vocal talent for audio narrations used in filmic works and advertisements. She

has produced a voluminous body of work that is commercially available over the internet. Vacker

is a citizen and resident of Texas.

       2.      Plaintiff Mark Boyett is a voice actor who creates audiobook narrations of

published books for a number of publishers who distribute them on common audiobook


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subscription services and other digital retail outlets. In addition, Boyett’s vocal talent is also used

in filmic works and advertisements. Boyett is a citizen and resident of New York.

       3.      Plaintiff Brian (BV) Larson is an American author renowned for his extensive

science fiction catalog. With a prolific output comprising more than 70 books and 4 million copies

sold, Larson has established himself as a USA Today bestselling author. His work spans several

series, including “Haven,” “Imperium,” “Star Force,” “Hyborean Dragons,” and “Unspeakable

Things,” showcasing his versatility across different sub-genres. Most of his titles have been

translated into other languages, further broadening his international readership. Most of his titles

have been adapted into audiobooks, including over 40 audiobooks narrated by Boyett. Larson owns

the copyright in the underlying written work for all audiobook narrations of his work (and, for

some but not all of these works, he also owns the copyright in the audiobook recording) narrated

by Boyett. Larson’s written work and audio narrations by Boyett are distributed through online

digital retailers and audiobook subscription services. Larson is a citizen and resident of California.

       4.      Plaintiff Iron Tower Press, Inc. is a California corporation owned and operated by

Larson that publishes written works and commissions audiobook narrations. ITP is a corporation

organized and based in California.

       5.      Plaintiff Vaughn Heppner is a prolific author residing in Nevada who primarily

writes in the military science fiction, space opera, and thriller genres. His works frequently appear

on bestseller lists for these genres on internet retailers like Amazon. He has published over 10

major novel series, including his Lost Starship series. Boyett has narrated 20 of the 21 books in

Heppner’s Lost Starship series for audiobooks. Heppner owns the copyrights in the underlying

written work and for all audiobook narrations performed by Boyett.

       6.      Defendant ElevenLabs, Inc. is a corporation organized and existing under the laws




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of the State of Delaware, with a primary mailing address at 576 Vanderbilt Avenue, Apt. 4, New

York City, New York 11238, USA. On information and belief, its principal place of business is in

New York City, New York. ElevenLabs offers text-to-speech services, including the capability to

clone the user’s voice and render text to speech in that voice. Defendant provides several default

high quality voices in which it can render text to speech. Defendant does business throughout the

United States, including in this District.

                                             JURISDICTION

       7.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§

1331 and 1338(a), as it arises under the DMCA of 1976, 17 U.S.C. § 101, et seq.

       8.      This Court has personal jurisdiction over ElevenLabs because ElevenLabs is a

Delaware corporation.

                                                VENUE

       9.      Venue in this Court is proper under 28 U.S.C. § 1391(b) because ElevenLabs is a

Delaware corporation.

                                                FACTS

A.     The Voice-Actor Plaintiffs Are Professional Voice Actors Who Specialize in Creating
       Audiobook Narrations.

       1.      Karissa Vacker

       10.     Karissa Vacker is an award-winning voice actress who uses her distinctive voice to

earn her livelihood. She has produced a voluminous body of work, including narrations of more

than 300 audiobooks for major publishers including Penguin Random House, MacMillan Audio,

Hachette, Brilliance, Tantor, Dreamscape, HarperCollins, and Scholastic. Vacker produces work

under her own name, Karissa Vacker, and under her artist name, Vanessa Edwin.

       11.     Hundreds of audiobook narrations performed by Vacker are commercially



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available for purchase and subscription-based access online through multiple vendors, including

over 200 audiobook narrations available on Amazon’s Audible service alone.

       12.     Vacker’s voice is distinctive, recognizable, and expressive, and has earned her

acclaim and recognition in the audiobook industry.

       13.     Vacker’s distinctive voice and vocal style is a valuable asset and source of income,

which Vacker earns by charging fees for her services narrating text in her distinctive voice and

vocal style.

       14.     Vacker has also narrated text for audio-visual productions, including fiction and

non-fiction works, as well as advertisements.

       15.     Vacker has also worked as an on-screen actress, primarily in major network

television shows, including “How I Met Your Mother,” “Chuck,” “Castle,” “Days of Our Lives,”

and “NCIS.” Vacker has also played roles in films, including “Someone Marry Barry” and

“Summer Forever,” and is featured in a popular video game, “Fight Night Champion,” where she

played the role of a reporter.

       16.     Vacker has not licensed, authorized, or consented to ElevenLabs digitally “cloning”

her voice through its text-to-speech system, nor has she authorized or consented to ElevenLabs

distributing audio recordings of text narrated in her distinctive voice and likeness.

       17.     Vacker has not authorized ElevenLabs to use, copy, or reproduce original

recordings of her vocal performances, generate new audio recordings that use her distinctive voice

and likeness, or otherwise use her voice and likeness for any purpose.

       2.      Mark Boyett

       18.     Mark Boyett is an award-winning voice actor who has been creating audiobook

narrations of published books for many years. Boyett has narrated an extensive catalog of works

spanning a range of literary genres.


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       19.     Boyett’s distinctive and recognizable voice and speaking style has earned him

acclaim and recognition in the audiobook industry and is a valuable asset and source of income,

which Boyett earns by charging fees for his narration services.

       20.     Boyett has produced a voluminous body of audiobook narrations available for

purchase and subscription-based access online through multiple vendors, including Amazon’s

Audible service. Boyett has also voiced the introduction to audiobooks produced by Amazon’s

Audible Studios and Audible Originals since 2018.

       21.     Boyett also has worked as an on-screen film actor, appearing in 17 films and TV

shows, including appearances in the television series “Blue Bloods,” “The Gilded Age,” “FBI,”

“Law & Order: Special Victims Unit,” and others. He has appeared in feature films including “The

Tender Bar,” and “Fell, Jumped or Pushed.”

       22.     Mr. Boyett has not licensed, authorized, or consented to ElevenLabs digitally

“cloning” his voice through its text-to-speech system, nor has he authorized or consented to

ElevenLabs distributing audio recordings that narrate text in his distinctive voice and likeness.

B.     The Author/Publisher Plaintiffs are copyright owners in audiobook recordings
       and/or written works narrated by the Voice-Actor Plaintiffs.

       23.     Plaintiffs Brian (BV) Larson, Iron Tower Press, Inc., and Vaughn Heppner are

authors and copyright owners of certain audiobook recordings performed by Boyett and/or the

underlying written work narrated by him, distributed through online retailers and subscription

services like Amazon’s Audible.

               1.      Brian (BV) Larson.

       24.     Plaintiff Brian (BV) Larson is an American author renowned for his extensive work

in science fiction. With a prolific output of more than 70 books and over 4 million copies sold,

Larson has established himself as a USA Today bestselling author. His work spans several series,



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including “Haven,” “Imperium,” “Star Force,” “Hyborean Dragons,” and “Unspeakable Things,”

showcasing his versatility across different sub-genres within science fiction and fantasy. Most of

his titles have been translated into other languages, further broadening his international readership.

       25.     Most of Larson’s books have been adapted into audiobooks and published in

audiobook format, which are distributed through online digital retailers and audiobook

subscription services.

       26.     Boyett, has performed audiobook narrations of numerous works authored by

Larson that are distributed through online digital retailers and audiobook subscription services.

Boyett has narrated over 40 works authored by Larson on Amazon's Audible service alone,

including: Steel World; Dust World; Home World; Tech World; Swarm; Rogue World; Machine

World; Death World; Blood World; Dark World; Rebel Fleet; Armor World; Extinction;

Conquest; Rebellion; Battle Station; Storm World; Orion Fleet; Empire; Starship Liberator;

Annihilation; Alpha Fleet; Storm Assault; Ice World; The Dead Sun; Outcast (coauthored with

David VanDyke), Battleship Indomitable (coauthored with David VanDyke), Exile (coauthored

with David VanDyke), Earth Fleet; City World; Demon Star (coauthored with David VanDyke),

Flagship Victory (coauthored with David VanDyke), Hive War (coauthored with David VanDyke),

Straker’s Breakers (coauthored with David VanDyke), Starship Pandora; Army of One; War of

the Spheres (coauthored with James D. Millington), Amber Magic; Planetary Assault (coauthored

with Vaugn Heppner and David VanDyke), Dragon Magic; Death Magic; Sky Magic; Blood

Magic; Dream Magic; and Shadow Magic.



       27.     Larson owns the copyrights in the underlying text of all audiobook narrations of his

work narrated by Boyett, and most of the audiobook narrations as well.




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       28.     Many of Larson’s written works have been translated into other languages,

including German and Polish, and many of those have been recorded and sold as audiobooks.

               2.Vaughn Heppner

       29.     Vaughn Heppner is a prolific author who primarily writes in the military science

fiction, space opera, and thriller genres. His works frequently appear on bestseller lists for these

genres on internet retailers like Amazon. His works span over 10 novel series, the most popular of

which is his Lost Starship series containing 20 novels. Boyett has narrated the audiobooks for 19

of the 20 works in the Lost Starship series, including: The Lost Command, The Lost Destroyer,

The Lost Colony, The Lost Patrol, The Lost Planet, The Lost Earth, The Lost Artifact, The Lost

Star Gate, The Lost Supernova, The Lost Swarm, The Lost Intelligence, The Lost Tech, The Lost

Secret, The Lost Barrier, The Lost Nebula, The Lost Relic, The Lost Task Force, The Lost Clone,

The Lost Portal, and The Lost Cyborg.

       30.     Heppner owns the copyrights in both the underlying written work and audiobook

narrations for all works authored by him and narrated by Boyett. These works are distributed

through online retailers, including Amazon’s Audible service.

C.     ElevenLabs is a generative AI company that launched its platform offering text-to-
       speech services in January 2023 and is now valued at over $1 billion.

       1.      ElevenLabs attracted over a million new users in its first six months by giving
               away free audio narrations narrated by its “default” voices, including “Adam”
               and “Bella.”

       31.     ElevenLabs is a software company that specializes in developing natural-sounding

speech synthesis and text-to-speech software using AI and deep learning. ElevenLabs provides

text-to-speech services to users through its website, elevenlabs.io, and through its API. Its service

allows users to create synthetic audio narrations of a written text supplied by the user.

       32.     ElevenLabs was co-founded in 2022 by Piotr Dąbkowski, an ex-Google machine



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learning engineer, and Mateusz Staniszewski, an ex-Palantir deployment strategist.

           33.      As ElevenLabs explained in an early blog post, its goal was to create a text-to-

speech system that could generate “voice actor-grade speech from any text”:1

                    Who’s it for?

                    We chose this direction for a number of reasons. There is currently
                    no tool which supports generating long-form speech in high enough
                    quality to make it suitable for voicing news or audiobooks. Our team
                    are keen listeners of all things audio and we felt that rising to the
                    challenges posed by lengthier content is a natural step towards
                    realising our ambitions. But we’re also particularly excited to
                    consider it our stand-out feature - we’re the first AI speech tech
                    platform to bring the most emotive, rich and lifelike voices to
                    creators and publishers seeking the ultimate storytelling quality.

                    To this extent, our platform allows you to generate and download
                    high quality, voice actor-grade speech from any text - be it news
                    articles, books, newsletters, blogs or academic papers.2

           34.      ElevenLabs raised $2 million from investors in a pre-seed round, and in January

2023 publicly released its beta platform.3

           35.      Upon release, ElevenLabs offered nine default voices, including Adam and Bella.4

           36.      The landing page for the ElevenLabs website invited visitors to try its services by

entering text and obtaining a high-quality professional audio narration of the text rendered in one

of its nine default voices, at no cost:




1
 ElevenLabs Website, Blog, October 17, 2022 post by ElevenLabs Team (available at https://elevenlabs.io/blog/long-
form-speech-synthesis-for-publishers-and-creators/).
2
    Id. (emphasis added).
3
 Wikipedia article on ElevenLabs, available at https://en.wikipedia.org/wiki/ElevenLabs (last accessed February 7,
2024).
4
  See, e.g., Internet Archive WaybackMachine, Elevenlabs.io Landing Page, archived March 5, 2023, available at
https://web.archive.org/web/20230305062351/https://beta.elevenlabs.io/.



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          37.     By June 2023, ElevenLabs had attracted over 1 million registered users.5

          38.     That same month, ElevenLabs raised $19 million in a Series A funding round at a

company valuation of roughly $100 million, despite the company having no office and only 15

employees.6

          2.      By January 2024, ElevenLabs had attracted millions of users—resulting in a
                  company valuation of $1.1 billion.

          39.     By January 2024, ElevenLabs’ service was being used by “millions,”7 allowing it

to raise an additional $80 million in series B funding based on a market valuation of $1.1 billion

leading to self-proclaimed “unicorn status.”8


5
 ElevenLabs Website, Blog Entry dated June 20, 2023 (“AI platform ElevenLabs, which launched in Beta in January
2023, has now attracted over 1 million registered users across creative, entertainment and publishing spaces”),
available at https://elevenlabs.io/blog/elevenlabs-launches-new-generative-voice-ai-products-and-announces-19m-
series-a-round-led-by-nat-friedman-daniel-gross-and-andreessen-horowitz/ (last accessed March 14, 2024).
6
  Id.; see also Wikipedia, article on ElevenLabs, available at https://en.wikipedia.org/wiki/ElevenLabs (last accessed
February 7, 2024) (“In June 2023, ElevenLabs raised a $19 million Series A funding round at a valuation of about
$100 million,[7][8] despite the company having no office and only 15 employees.”); ElevenLabs Website, Blog Entry,
Jan. 22, 2024 (“ElevenLabs has raised an $80m Series B round co-led by Andreessen Horowitz, Nat Friedman, Daniel
Gross, and joined by Sequoia Capital, Smash Capital, SV Angel, BroadLight Capital and Credo Ventures to strengthen
its position as the leader in voice AI…. Since its launch, ElevenLabs technology has [been] adopt[ed] by millions
leading the company to unicorn status.”), available at https://elevenlabs.io/blog/series-b/ (last accessed March 4,
2024).
7
 ElevenLabs Website, Blog Entry, Jan. 22, 2024, available at https://elevenlabs.io/blog/series-b/ (last accessed March
4, 2024).
8
    Id.



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          40.    According to a January 2024 blog post on the ElevenLabs website, the company

had generated over 100 years of audio since its launch, and its technology was used by employees

at 41% of Fortune 500 companies:9




          3.     ElevenLabs’ Services

                 (a)      ElevenLabs’ “Speech Synthesis,” first in English and then Multi-
                          Lingual

          41.    ElevenLabs is known for its browser-based, “Speech Synthesis” AI-assisted text-

to-speech software, which can produce lifelike speech by synthesizing vocal emotion and

intonation, using its default voices, including “Bella” and “Adam.”10 The system also includes the

ability to “clone” the voice of the user from a sample provided by the user (i.e., to identify the

unique set of features of the voice in the audio sample provided by the user by mapping them to

features of voices learned during training from the training data).

          42.    Originally, the system could only convert text to speech in English. On April 27,

2023, ElevenLabs released the “Eleven multilingual V1,” supporting text-to-speech in “seven new

languages: French, German, Hindi, Italian, Polish, Portuguese, and Spanish.”11

          43.    In August 2023, ElevenLabs released its Multilingual V2 model, supporting text-


9
    Id.
10
  Wikipedia article on ElevenLabs, available at https://en.wikipedia.org/wiki/ElevenLabs (last accessed February 7,
2024).
11
  See ElevenLabs Website, Blog Entry, April 27, 2023, Introducing Eleven Multilingual v1: Our New Speech
Synthesis Model (available at https://elevenlabs.io/blog/eleven-multilingual-v1



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to-speech in 28 languages, adding Chinese, Korean, Dutch, Turkish, Swedish, Indonesian,

Filipino, Japanese, Ukrainian, Greek, Czech, Finnish, Romanian, Danish, Bulgarian, Maylay,

Slovak, Croatian, Classic Arabic, and Tamil.12 With the multilingual model, the user can narrate

text using any of ElevenLabs’ default voices (or use a voice cloned from a short audio sample

provided by the user), emulating the voice, prosody, pacing, and style, in any of the supported

languages as if the person was perfectly bilingual.

                 (b)      Dubbing Studio (Speech to Speech Translation)

           44.   On January 22, 2024, ElevenLabs announced its Dubbing Studio product, “which

enables users to dub entire movies, as well as generate and edit their transcripts, translations, and

timecodes, providing additional control over content production. These capabilities supplement

the already existing AI dubbing feature which enables automated, end-to-end video localization

across 29 languages.”13 The dubbing tool enables the user to automatically translate (audio) speech

in one language to speech in the same voice in another language, while preserving the original

voice, prosody, pacing, style, rhythm and timing of the delivery, while preserving the emotional

character of the performance.14

           45.   ElevenLabs has achieved substantial and rapid growth, wealth, value, and profits

from the creation, broadcast/performance, and distribution of synthetic narrations created using its

“Bella” and “Adam” voices. Moreover, ElevenLabs granted its paying subscribers a worldwide

license to use, perform, and redistribute these recordings royalty-free, for commercial purposes.




12
   See ElevenLabs Website, Blog Entry, August 22, 2023, by ElevenLabs Team Multilingual v2, (available at
https://elevenlabs.io/blog/multilingualv2/).
13
     Id.
14
  ElevenLabs Website, Blog Entry, Jan. 22, 2024, available at https://elevenlabs.io/blog/series-b/ (last accessed
February 7, 2024); Wikipedia, article on ElevenLabs, available at https://en.wikipedia.org/wiki/ElevenLabs (last
accessed February 7, 2024).



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        4.       During this period, the U.S. government issued a call to action to help mitigate
                 the harm caused by new state-of-the-art text-to-speech systems.

        46.      Unfortunately, such technology also enables users to misappropriate the likeness of

others, with troubling consequences.15

        47.      For example, in January 2024, a “deepfake” audio recording in the voice of US

President Joe Biden was transmitted to roughly 5,000 to 25,000 New Hampshire primary voters

via “robocalls,” urging them not to vote in the New Hampshire primary election.16 Only after an

independent investigation traced the recording to ElevenLabs, the company suspended the user’s

account.17

        48.      According to Fortune Magazine, ElevenLabs was allowing users to create voice

clones of public figures, including politicians, with the understanding that the audio must “express

humor or mockery in a way that it is clear to the listener that what they are hearing is a parody.”18

        49.      In addition to ElevenLabs’ failure to implement adequate safeguards to police

against foreseeable abuse by its users, ElevenLabs itself has misused its own technology, from


15
   See, Forbes, September 3, 2019, “A Voice Deepfake Was Used To Scam A CEO Out Of $243,000,” available at
https://www.forbes.com/sites/jessedamiani/2019/09/03/a-voice-deepfake-was-used-to-scam-a-ceo-out-of-
243000/?sh=7d58ec102241.
16
   Fortune Magazine, Gargi Murphy, et. al., Biden audio deepfake spurs AI startup ElevenLabs—valued at $1.1
billion—to ban account: ‘We’re going to see a lot more of this’ (January 27, 2024), available at,
https://fortune.com/2024/01/27/ai-firm-elevenlabs-bans-account-for-biden-audio-deepfake/; see also Associated
Press, Magician says political consultant hired him to create AI robocall ahead of New Hampshire primary, Holly
Ramer et. al, (February 23, 2024), available at https://apnews.com/article/biden-robocalls-ai-magician-new-
hampshire-louisiana-155b3ffe9d24048f3380104f95b48a57; Associated Press, Holly Ramer, Political Consultant
behind fake Biden robocalls says he was trying to highlight the need for AI rules (February 26, 2024) (available at
https://apnews.com/article/ai-robocall-biden-new-hampshire-primary-2024-f94aa2d7f835ccc3cc254a90cd481a99);
February 7, 2024, NPR, All Things Considered, What a robocall of Biden’s AI-generated voice could mean for the
2024 election, https://www.npr.org/2024/02/07/1229856682/what-a-robocall-of-bidens-ai-generated-voice-could-
mean-for-the-2024-election (estimating number robocalls were made to 5,000 – 25,000 homes).
17
   Fortune Magazine, Gargi Murphy, et. al., Biden audio deepfake spurs AI startup ElevenLabs—valued at $1.1
billion—to ban account: ‘We’re going to see a lot more of this’ (January 27, 2024), available at,
https://fortune.com/2024/01/27/ai-firm-elevenlabs-bans-account-for-biden-audio-deepfake/.
18
   Fortune Magazine, Gargi Murphy, et. al., Biden audio deepfake spurs AI startup ElevenLabs—valued at $1.1
billion—to ban account: ‘We’re going to see a lot more of this’ (January 27, 2024) (available at,
https://fortune.com/2024/01/27/ai-firm-elevenlabs-bans-account-for-biden-audio-deepfake/).



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inception, by using copyrighted works without authorization, stripping them of their digital rights

protections, and using them to clone the voice and likeness of Vacker and Boyett. ElevenLabs did

this without the Voice-Actor Plaintiffs’ knowledge or permission and has used their voices to

promote its services and attract millions of users by offering professional-quality audio narrations.

       50.     ElevenLabs sold—and on information and belief, continues to sell—text-to-speech

services rendered in the voices and likenesses of Vacker and Boyett.

D.     ElevenLabs misappropriated the voices and likenesses of the Voice-Actor Plaintiffs.

       1.      Vacker learned from friends and fans of her work that ElevenLabs had cloned
               her voice and was distributing recordings using her voice and likeness.

       51.     In late 2023, Vacker learned from fans that ElevenLabs had digitally cloned her

voice and was distributing recordings performed in her unique likeness:




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       52.     Vacker was shocked and distressed to discover that her voice had been cloned

without her knowledge or consent.




       53.     Vacker found that the “Bella” voice offered by ElevenLabs imitated her own voice,

capturing her unique vocal qualities, intonation, and style. The similarity was so striking that her

friends, family, and colleagues recognized the “Bella” voice as Vacker’s.

       54.     Vacker reached out to ElevenLabs to demand an explanation for how they had

obtained her voice data and to request that they cease using her voice immediately. In mid-

November, 2023, ElevenLabs promised to remove the “Bella” voice from its website and prevent




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its users from creating new content in Vacker’s voice and likeness.

         55.      While ElevenLabs removed Bella from its website, Vacker continued to encounter

new recordings on YouTube, social media, and elsewhere narrated in her distinctive voice and

style.

         56.      Upon investigation, Vacker discovered that third-party services, including

Audie.ai—a website that provided text-to-speech services to its own customers using the

ElevenLabs API19 services—continued to allow their users to select the “Bella” voice, create new

content in Vacker’s voice and likeness, and use these recordings in projects over which she has no

control, to promote messaging she did not approve, without her approval or any compensation.

         57.      On information and belief, ElevenLabs continued to allow its customers accessing

ElevenLabs through the API to create content using the “Bella” voice.20

         58.      In December 2023, Vacker again reached out to ElevenLabs, explaining that she

had discovered ElevenLabs was still generating and selling synthetic recordings using its default

“Bella” voice to customers via the API. ElevenLabs claimed that removing API access to Bella

was a technical challenge that ElevenLabs was not sure it could overcome.

         59.      On December 28, 2023, ElevenLabs confirmed that Bella had been removed from

the ElevenLabs API. On information and belief, ElevenLabs re-assigned the “voice_id” number

used     to     select     the     “Bella”      voice      when       making       an     API      call     (voice_id


19
   Authors Voice Website (accessible at https://audie.ai/); see also id. at “Thank You” page (available at
https://audie.ai/thank-you/) (“Audie has been a long time partner of Elevenlabs.io, the originators of the incredible AI
voices you can use on Audie. They recently improved their ‘projects’ system so much that it can now read entire
audiobooks. With controllable emotion! They can even translate it into different languages, automatically, with AI.
Now you can give it a try! The same voices you enjoyed here at Audie are available there, in fact there’s thousands
more.”).
20
  An API, or Application Programming Interface, is a tool that allows different software programs to talk to each
other. It is used to let one program use services or data from another program. For example, if a software program
wants to use a service provided by another company, it can use an API to connect to that service and use it within its
own application. This connection is made through something called API calls.



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“EXAVITQu4vr4xnSDxMaL”) to point to a new and different default voice named “Sarah.”21




        60.     Nonetheless, Vacker continues to encounter recently-created recordings narrated in

her own voice on video sites like YouTube, social media, and elsewhere throughout the internet.

        61.     On information and belief, ElevenLabs’ users, unhappy with the removal of the

Bella voice, have used ElevenLabs’ “voice-cloning” capability to create their own high-quality

clones of the Bella voice. These voice clones are made available for collective use in ElevenLabs’

VoiceLab library with names like “ReBella,” “Belle,” and “Sally – very realistic superb”:22




21
   See ElevenLabs website, “How are voices updated & changed?”, available at https://help.elevenlabs.io/hc/en-
us/articles/20939463028881-How-are-voices-updated-changed (last verified May 31, 2024).
22
       See    Reddit     Social    Media     Platform,     at   ElevenLabs      Channel,    available  at
https://www.reddit.com/r/ElevenLabs/comments/18jyp9z/anyone_know_how_i_can_get_bella_back/ (last verified
May                         31,                      2024);                      id.                   at
https://www.reddit.com/r/ElevenLabs/comments/1863dct/cant_believe_they_got_rid_of_bella_how_are_we/ (last
verified May 31, 2024).



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                                                                                                     23




                                                                                                    24




23
                      See                  Reddit                     Elevenlabs                  Channel,
https://www.reddit.com/r/ElevenLabs/comments/1863dct/cant_believe_they_got_rid_of_bella_how_are_we/ (last
verified 5/31/2024).
24
                      See                  Reddit                     Elevenlabs                  Channel,
https://www.reddit.com/r/ElevenLabs/comments/1863dct/cant_believe_they_got_rid_of_bella_how_are_we/ (last
verified 5/31/2024).



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                                                                                                   25



          62.   On information and belief, the training data ElevenLabs used to train its foundation

models contains a large volume of Vacker’s audiobook narrations. Although ElevenLabs removed

Bella from its website, it did not remove these recordings from its corpus of training data or retrain

its foundation models after removing the “Bella” voice_id from its website and API. As a result,

the unique features of Vacker’s voice remain in ElevenLabs’ system—allowing users to create

high-quality realistic clones of Vacker’s voice.

          63.   As a result of ElevenLabs’ actions, Vacker has suffered economic losses, damage

to her professional reputation, and significant emotional distress. ElevenLabs has been unjustly

enriched. Accordingly, Vacker seeks injunctive relief to prevent further misuse of her voice by

ElevenLabs, damages to compensate for the harm she has already suffered, disgorgement of

profits, value and/or investment achieved by ElevenLabs’ misuse, and other available monetary

relief.

          2.    Boyett learned that ElevenLabs cloned his voice and was distributing
                recordings in his voice and likeness from friends and fans of his work.

          64.   In 2023, Boyett learned from fans that ElevenLabs was distributing recordings


25
        Reddit      Social    Media     Platform,     at     ElevenLabs   Channel,      available      at
https://www.reddit.com/r/ElevenLabs/comments/18jyp9z/anyone_know_how_i_can_get_bella_back/ (last verified
May 31, 2024).



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performed in his voice and likeness.




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       3.      ElevenLabs initially claimed their system was trained solely on two public
               repositories of open-source audiobooks and that its “default” voices were
               chosen at random.

       65.     After Boyett alerted the Screen Actors Guild (“SAG”) about the problem, an

attorney for SAG met with ElevenLabs in London. In September 2023, SAG updated Boyett on

its conversation with ElevenLabs and forwarded him the email communications between them.

       66.     In emails to SAG, ElevenLabs claimed it did not use any copyrighted material to

train its systems. ElevenLabs claimed it had trained its AI system using recordings solely from two

open-source repositories of audiobook recordings, the contents of which are in the public

domain—specifically, the LibriVox and Common Voice repositories.

       67.     ElevenLabs further claimed that its “Adam” default voice was “randomly

generated.”

       68.     As discussed further below, on information and belief, ElevenLabs’ representations

regarding the source material it used to train its system are false; ElevenLabs trained its AI systems



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using a vast amount of high-quality audio recordings obtained from other sources—well beyond

the material contained in the LibriVox and Common Voice repositories—and were well aware that

the training corpus included copyrighted material. On information and belief, ElevenLabs

deliberately sought out and used audiobook recordings created by professional voice actors with

large libraries of audiobook recordings.

        69.      More specifically, without permission or consent, ElevenLabs used recordings of

audiobook narrations performed by Voice-Actor Plaintiffs in the training data used to train its

generative AI systems, and trained and/or selected the “Adam” and “Bella” voices based on

audiobook narrations performed by Boyett and Vacker.

        70.      Defendant’s representations to SAG are not credible. ElevenLabs has not only

created highly realistic clones of Boyett’s and Vacker’s voices that capture their unique vocal

timbres, intonation, accent, prosody, pacing, stress, and delivery style, these voice clones are so

similar to Voice-Actor Plaintiffs’ real voices that they have been repeatedly recognized by their

fans, friends, and colleagues. Moreover, ElevenLabs’ creation of such accurate and convincing

voice clones shows that ElevenLabs must have used large quantities of professional-quality

audiobook recordings —including Voice-Actor Plaintiffs’ recorded audio narrations—to train its

AI system.

        71.      ElevenLabs has not publicly identified the neural architecture of its generative AI

system. However, other leading AI companies, including Google, Meta, Microsoft, and others

have trained comparable text-to-speech systems with similar capabilities (including vocal cloning,

text-to-speech translation, speech-to-speech translation, and multi-speaker turn-based “dubbing,”)

and have publicly published research papers on their work.26 Based upon similar systems,


26
  Le, Matthew et al., Voicebox: Text-Guided Multilingual Universal Speech Generation at Scale, arXiv preprint
arXiv:2306.15687 (Meta, Fundamental AI Research, Oct. 19, 2023); Rubenstein, Paul K. et al., AudioPaLM: A Large


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ElevenLabs could not—and did not—train its text-to-speech system relying solely on open-source

recordings from the Common Voice and Librivox repositories, as these repositories lack sufficient

quantities of professional high-quality audio narrations to train a system that can produce “voice

actor-grade” text-to-speech, vocal-cloning, and speech-to-speech translation in 28 languages.

        1.       The ElevenLabs system uses generative AI to convert text supplied by the user
                 to a recorded audio narration of the same text in a clone of Voice-Actor
                 Plaintiffs’ voices.

                 (a)     Text-To-Speech Systems—a form of Generative AI—use neural
                         networks to convert written text to recorded speech.

        72.      Neural networks form the technological foundation for state-of-the-art generative

AI systems across various domains, including models that generate text (like OpenAI’s GPT-4).

                 (b)     Core components of a text-to-speech system:

        73.      State-of-the-art (neural) text-to-speech systems share certain core steps:27




                         (i)      Text analysis and preprocessing.

        First, the system processes and interprets the input text. During this stage, the system must




Language Model That Can Speak and Listen, arXiv preprint arXiv:2306.12925 (Google, Jun. 22, 2023) (available at
https://arxiv.org/pdf/2306.15687.pdf) (system incorporating Soundstorm below); Dong, Qianqian et al., PolyVoice:
Language Models for Speech to Speech Translation, arXiv preprint arXiv:2306.02982v2 (ByteDance, Jun. 13, 2023);
Borsos, Zalan et al., SoundStorm: Efficient Parallel Audio Generation, arXiv preprint arXiv:2305.09636 (Google
Research, May 16, 2023); Zhang, Ziqiang et al., Speak Foreign Languages with Your Own Voice: Cross-Lingual
Neural Codec Language Modeling, arXiv preprint arXiv:2303.03926 (Microsoft, Mar. 7, 2023) (Valle-X system);
Wang, Chengyi et al., Neural Codec Language Models are Zero-Shot Text to Speech Synthesizers, arXiv preprint
arXiv:2301.02111 (Microsoft, Jan. 5, 2023) (monolingual Valle system).
27
   See ElevenLabs Website, Blog, May 1, 2023, What is Text to Speech? (2024 Update) (available at
https://elevenlabs.io/blog/what-is-text-to-speech/) (narrated in Adam voice).



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         normalize the text (converting numbers, abbreviations, etc. to their full-word forms),

         identifying sentence boundaries, and understanding context and emotional cues within the

         text. This is crucial for generating speech that aligns with the intended message and

         emotional tone.

                            (ii)     Linguistic interpretation.

         The system converts the words into a sequence of graphemes (sonically significant

         characters, or combinations of characters), phonemes, and/or in some end-to-end systems,

         into semantic and acoustic “units.”28 As explained by ElevenLabs, “Phonemes are the

         smallest units of sound in a language that can distinguish one word from another. In TTS,

         phonemes are crucial for accurately pronouncing words.”29 The system may also identify

         and represent prosody (rhythm, stress, and intonation) based on the text’s context and

         semantic content. The resulting representations are then mapped to a multi-dimensional

         dense vector space called “embeddings.”30 This allows the system to holistically

         understand the text as a sequence of phonetic sounds that are passed on to an acoustic

         model for speech generation.




28
   Some systems convert graphemes to phonemes. Some end-to-end systems can generate speech directly from
graphemes without explicit phoneme conversion. Either way, the graphemes, phonemes, or semantic and acoustic
“units” are mapped to dense vector representations. To capture the sequential nature of the input, positional encodings
are added to these embeddings. This is essential for the model to learn the temporal dependencies in the data.
29
    ElevenLabs Website, Blog, May 1, 2023, What is Text to Speech? (2024 Update) (available at
https://elevenlabs.io/blog/what-is-text-to-speech/) (narration available in Adam voice). Note, however, that some
systems like Microsoft’s Vall-E X, and ByteDance (Tik-Tok)’s PolyVoice models directly predict acoustic speech
units, rather than phonemes, that capture the phonetics and semantic content in speech.
30
  Depending on the architecture, the system may create an intermediate representation of the original text (phonemes,
timing, stress, intonation, etc.), that it passes on, as an output to the acoustic model. The acoustic model receives this
intermediate representation as an input, along with the speaker embedding, and potential information regarding timing,
rhythm, stress, and intonation information derived from the text. The acoustic model then uses this information to
generate Or it may do so implicitly, as the information passes through the network in an “end-to-end” system.



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                          (iii)    Acoustic model converts the phonemes into an audio
                                   performance of speech using phoneme and speaker information.

        The acoustic model is able to receive as an input (i) the embeddings that represent the

        phoneme information,31 and (ii) the “speaker embedding,” which captures detailed

        information regarding the speaker’s voice, pitch, tone, and speaking style, and other

        vocal/speech traits. The acoustic model uses this information to convert the embeddings

        into a human-like sounding narration of the text.32 As described by ElevenLabs, “[o]nce

        the system phonemically interprets the text, the next step involves digitizing this speech.…

        AI algorithms are trained on vast datasets of spoken language, enabling them to generate

        speech that mimics human tonality and rhythm. This synthesized voice is then matched

        with the phonemes to produce speech that sounds natural.”33

                 (c)      In a multi-speaker TTS with vocal cloning capabilities, the Acoustic
                          model creates a “speaker embedding” that represents the
                          characteristics of a voice as a point in multi-dimensional space, where
                          each dimension correlates to some characteristic of the voice or
                          speaking style.

        74.      The acoustic model is a critical component of multi-speaker text-to-speech systems

with vocal cloning capabilities. To enable the acoustic model to generate speech in a variety of

voices, it must be trained on a diverse dataset of speech samples from numerous speakers.

        75.      During this training process, the model analyzes a large dataset of speech samples

from a large number of different speakers to learn the patterns and characteristics that define each

unique voice. The model learns to represent these different vocal characteristics, speaking styles,



31
  More specifically, the system receives vector embeddings that represent the phonemes, positional information, and
prosodic features, such as pauses, etc., inferred from the semantic content of the text itself.
32
  ElevenLabs Website, Mati Staniszewski, Blog, November 10, 2023, What is Generative AI Audio? Everything you
need to know, (available at https://elevenlabs.io/blog/what-is-generative-ai-audio/).
33
    ElevenLabs Website, Blog, May 1, 2023, What is Text to Speech? (2024 Update) (available at
https://elevenlabs.io/blog/what-is-text-to-speech/) (narration available in Adam voice).



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and traits that vary across speakers, and represent the voice of a specific speaker as a point in a

high-dimensional space called a “latent space.” In this high-dimensional latent space, each

dimension represents an abstract continuum of some aspect or feature of the voices analyzed. For

example, a dimension could correspond to aspects of vocal timbre and overtones, elocution, accent,

pitch, rhythm, intonation, emotive styles, speaking rate, and the like.34

         76.      Thus, each unique voice is represented as a point in a high dimensional space,

where each dimension correlates to some aspect of the person’s unique voice and speaking style.

Within this latent space, voices with similar characteristics are clustered closer together and

dissimilar voices are placed further apart. By learning to map the relationships between these vocal

traits, the acoustic model creates a comprehensive representation of the voice data.

         77.      The vector points within the latent space that represent the characteristics of a

speaker’s voice and speaking style is called a “speaker embedding.” The location of this point—

the speaker embedding—within the latent space identifies the unique traits of the speaker’s voice

and speaking style based on all the traits learned during training.

         78.      During the training process, the acoustic model learns to map the input speech data

to these voice embeddings in the latent space. The model adjusts the values along each dimension

of the vector to minimize the difference between the generated output and the original speech data.

This process allows the model to optimize representation of each voice.

         79.      Once the system is trained, the weights of neural network may be fixed such that

the system does not learn new voices of new users during use. Nonetheless, once the latent space



34
   In actuality, individual dimensions do not necessarily correspond directly to discrete, identifiable characteristics
that a human would recognize, like pitch or accent. Instead, each dimension captures an abstract, learned feature that
contributes to the overall representation of the voice. These learned features are often complex combinations of various
aspects of the voice, making it difficult to interpret the meaning of any single dimension in isolation. See note 50,
infra, for additional information.



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is created through training, the model can “clone” the voice of a user with a high degree of realism.

When a user wishes to clone a voice, the system maps the characteristics of the voice within the

latent space of all known vocal characteristics it learned during training. The trained network uses

an encoder to generate a corresponding speaker embedding vector—locating that voice within this

latent space. The speaker embedding is then used to condition the text-to-speech model to generate

speech that mimics the target speaker’s voice.

         80.      Importantly here, the more high-quality training data available for a specific

speaker, the better the system will be able to reproduce that speaker’s unique vocal characteristics

with a high degree of realism. Thus, the system is able to reproduce the unique voice and speaking

style of a speaker for whom it has abundant training data more realistically than a speaker whose

vocal traits are not well represented. High-quality data provides the model with a richer and more

detailed understanding of the speaker's voice, including nuances in pitch, tone, rhythm, and

speaking style, closely mimicking the target speaker and resulting in more natural and lifelike

voice synthesis.

         81.      In the diagram below from ElevenLabs’ website: (i) the user provides the Speaker

Reference recording of the voice they wish to clone; (ii) the Speaker Encoder analyzes the

recording and determines where the voice would have been located in the latent space, generating

the speaker embedding within the latent space; and (iii) the acoustic model receives the

grapheme/phoneme information (about the text it is supposed to narrate) and the speaker

embedding, and uses a decoder to generate the waveform of the audio narration within their voice,

which is converted to an audio recording by a neural vocoder.35


35
  ElevenLabs Website, Blog, Mati Staniszewski, What is Generative AI Audio? Everything you need to know,
November 10, 2023 (available at https://elevenlabs.io/blog/what-is-generative-ai-audio/) (noting further that the
generation of the audio includes both the decoder that generates the waveform, and a Discriminator that acts as a judge
and rejects the generation if it does not sound sufficiently real, using a generative adversarial network architecture).



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           82.    As ElevenLabs explains, “[b]y training these three parts with lots of speech data,

our AI-based voice generator becomes a master impersonator–it understands all the nuances that

make voices unique. The voices it generates are so realistic that you could easily mistake it for the

real person speaking.”36

           83.    Moreover, to allow users to modify a voice in a predictable manner (by shifting the

location of the speaker embedding), ElevenLabs trained a separate model to modify the

characteristics of a voice (by shifting the location of the speaker embedding within the latent space)

based on more human-recognizable features: e.g., gender, age, accent, pitch and speaking style.

They call this interface “Voicelab.”37

           2.     Training a state-of-the-art text-to-speech system requires a vast quantity of
                  high-quality audio recordings of narrated text.

           84.    Modern text-to-speech (“TTS”) systems, which convert written text into spoken



36
     Id.
37
   ElevenLabs Website, Blog, ElevenLabs Team, January 11, 2023, Enter the new year with a bang (“We had an idea
for how we’d go about this which came as we unpacked the methods we currently use for speech synthesis and voice
cloning. Both processes require a way of encoding the characteristics of a particular voice. Speaker embeddings are
what carries this identity – they’re a vector representation of a speaker’s voice. We realized that we could sample
from the distribution of speaker embeddings by training a dedicated model to let us create infinitely many new voices.
Since our users mostly look for specific speech characteristics, we needed to add a degree of control over the process.
We expanded our model with conditioning to generate voices based on their characteristics. The model now lets you
set certain basic parameters which establish the new voice’s core identity: gender, age, accent, pitch and speaking
style.”).



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words, rely heavily on neural networks to achieve natural-sounding speech output.38 To train a

TTS system to produce high-quality, natural-sounding speech output, vast quantities of high-

quality audio recordings and corresponding text transcripts are required.

         85.      The body of content used to train a generative AI—known as the “training

corpus”—typically consists of “input-output pairs,” where the input is the text and the output is

the audio recording of that text being spoken. Such a model learns to generate speech by analyzing

these pairs and adjusting its internal parameters to minimize the difference between its generated

output and the target audio. This training approach is known as supervised learning, and it is an

essential step in creating high-quality TTS systems.

         86.      These input-output pairs are essential for training a text-to-speech system because:

               1. Mapping text to speech: The primary goal of a TTS system is to convert written
                  text into natural-sounding speech. By training the system with text-speech pairs,
                  the model learns to map the input text to the corresponding speech output. This
                  allows the system to generate speech that accurately represents the input text.

               2. Learning pronunciation and prosody: Text-speech pairs help the TTS system
                  learn the correct pronunciation of words and phrases, as well as the appropriate
                  prosody (intonation, stress, and rhythm) for different types of sentences and
                  contexts. The model can learn these aspects by analyzing the speech output in
                  relation to the input text.

               3. Handling diverse text: Training on a large dataset of text-speech pairs exposes the
                  TTS system to a wide variety of text, including different words, phrases, and
                  sentence structures. This helps the model generalize and handle diverse text inputs,
                  improving its overall performance and flexibility.

               4. Capturing speaker characteristics: If the TTS system is designed to generate
                  speech in different voices, training the system on text-speech pairs from a vast
                  number of different speakers allows the model to learn and replicate the unique


38
  See ElevenLabs Website, Blog, November 10, 2023, What is Generative AI Audio? Everything You Need to Know
(available at https://elevenlabs.io/blog/what-is-generative-ai-audio/) (“The development of AI is a vast field, but at a
high level, deep learning and neural networks have been pivotal. These advancements enable modern AI TTS models
to decipher the text, determine the appropriate intonations, and synthesize them into spoken words. This process
involves training the AI with vast datasets of human speech, enabling it to generate voices that are not only
indistinguishable from humans but also able to communicate feelings and nuanced meanings.”).



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                    characteristics, such as voice quality, speaking style, and emotional tone, of each
                    speaker.

                 5. Enabling transfer learning: Pre-training a TTS system on a large dataset of text-
                    speech pairs allows for transfer learning. The pre-trained model can then be fine-
                    tuned on a smaller dataset specific to a particular speaker, reducing the amount of
                    data and training time required to create a specialized TTS system.

           87.      Thus, using input-output pairs of text and speech is crucial for training modern,

state-of-the-art TTS systems, and enables the models to learn the complex mapping between text

and speech, handle diverse text inputs, capture speaker characteristics, and benefit from transfer

learning, ultimately resulting in high-quality, natural-sounding speech output.

           88.      Consistent with these benefits (and contrary to what ElevenLabs told SAG),

ElevenLabs indicated in a November 2022 blog post on its website that ElevenLabs had already

trained its Speech Synthesis system on over 500,000 hours of audio:39

                    Both [of] our model’s strengths - fluency and proper intonation -
                    come from a wealth of training data it has seen (over 500k hours!),
                    but really the central factor is how it learns from this data, which is
                    down to the way it’s built.40

           3.       Audiobook recordings are an ideal source of content for training state-of-the-
                    art text-to-speech systems.

           89.      For many reasons, audiobook narrations are prime content to train TTS systems,

due to their consistent audio quality, professional narration, wide range of styles and emotions,

and readily available text transcripts. Thus, the use of audiobook data for TTS training is a well-

established practice in training text-to-speech systems.

           90.      First, audiobooks offer a vast amount of high-quality speech data, usually recorded

in professional studio settings, ensuring clear and consistent audio quality. The controlled studio


39
   ElevenLabs Website, Blog, by ElevenLabs Team, November 24, 2022, The first AI that can laugh (available at
https://elevenlabs.io/blog/the_first_ai_that_can_laugh/).
40
     Id.



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environment maintains a uniform sound for each speaker throughout the recording, which is

crucial for training TTS models to accurately capture and reproduce speaker-specific

characteristics.

        91.        Second, audiobooks provide a large volume of text (typically, a full-length novel),

narrated by the same speaker, in consistent, high-quality studio sound.

        92.        Third, audiobooks are typically narrated by professional voice actors who possess

excellent diction, intonation, and expressiveness, providing the TTS models with examples of

natural and engaging speech patterns.

        93.        Fourth, audiobooks cover a wide range of genres, styles, and emotions, exposing

the models to diverse linguistic content and prosodic variations.

        94.        Fifth, audiobooks carefully follow (and are usually accompanied by) their

corresponding text transcripts, which can be aligned with the audio to create text-speech pairs for

training.

        95.        For these reasons, the use of audiobook narrations for TTS training is a well-

established practice in the field, with numerous research papers and industry applications

demonstrating their effectiveness in improving the naturalness, expressiveness, and overall quality

of synthetic speech.

        4.         The training process requires making multiple copies of the audio recordings
                   and text used to train the system.

        96.        The process of collecting and preparing the training corpus involves creating

multiple copies of the audio recordings and text. Audio recordings must be pre-processed before

they can be used to train the TTS system to normalize its format, resolution, and/or volume, while

the text is tokenized and aligned with the corresponding audio segments. These pre-processing

steps require the user to create new copies of the original works and are necessary to ensure that



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the model can effectively learn the mapping between text and speech.

       97.     Audio pre-processing typically involves several steps, including: (i) converting the

sampling rate of each recording to a standard sampling rate and resolution used by the system; (ii)

converting stereo recordings to mono by combining the left and right audio channels; (iii)

normalizing volume of the recordings; (iv) reducing and removing background noise; (v) editing

out undesired silence in the recordings; and (vi) segmenting the recordings into shorter clips.

       98.     The pre-processing of the audio recordings requires making intermediate copies of

the recordings and ultimately results in at least one pre-processed copy of each recording that is

separate and distinct from the original.

       99.     Moreover, it is standard industry practice to maintain copies of the pre-processed

and processed audio recordings, transcripts, and extracted features in a version-controlled

repository and/or backup system. This results in additional copies of the pre-processed recordings

and text being made each time a change is committed to the repository or a backup is created.

       100.    On information and belief, ElevenLabs maintains one or more copies of the pre-

processed and processed audio recordings, transcripts, and extracted features used to train its

system in a version-controlled repository and/or backup system.

E.     The datasets ElevenLabs claims to have relied on to train its system do not contain
       enough high-quality validated data to train a state-of-the-art text-to-speech system
       with the capabilities it provides.

       1.      The Mozilla Common Voice project contains only 2,532 validated hours of
               speech in English.

       101.    The Mozilla Common Voice project is a crowdsourcing project started in 2019 by

Mozilla to create a free opensource repository of recordings to train speech recognition software.41



41
  See Mozilla Common Voice Website, “About” page available at https://commonvoice.mozilla.org/en/about
Wikipedia        article       on           Common             Voice,           available           at


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Individuals contribute to the project by donating short audio recordings of themselves narrating

text. Listeners also may contribute by validating the audio recordings to ensure quality.42 Mozilla

updates the database with new validated entries every three months, making the software available

for download to anyone who wishes to use it.43 In September 2023, the Common Voice English

dataset (Common Voice Corpus 15.0, released 9/13/2023) contained a total of 3,347 recorded

hours of speech, of which a total of 2,532 hours had been validated.

           102.      The Common Voice repository contains only very short recordings from a given

speaker recorded under consistent conditions, and is verified only to meet the quality necessary to

train a speech-to-text system. In contrast, in a text-to-speech system, the system uses the audio

recording as a model for what the system should output based on the text as input—making the

recording and narration quality of utmost importance.44

           2.        The Librivox repository contains unvalidated recordings of varying quality.

           103.      The Librivox repository is a voluminous collection of audiobook recordings created

by volunteers who read public domain texts aloud.45 The repository is near-exclusively comprised

of narrations of government documents and private works written prior to 1929.46

           104.      This repository has significant limitations when it comes to training modern, high-




https://en.wikipedia.org/wiki/Common_Voice#:~:text=Common%20Voice%20is%20a%20crowdsourcing,review%
20recordings%20of%20other%20users.) (last verified, April 2, 2024).
42
   See Mozilla Common Voice Website, “About” page, (available at https://commonvoice.mozilla.org/en/about
Wikipedia              article       on            Common           Voice,         available           at
https://en.wikipedia.org/wiki/Common_Voice#:~:text=Common%20Voice%20is%20a%20crowdsourcing,review%
20recordings%20of%20other%20users.) (last verified, April 2, 2024).
43
      See Mozilla Common Voice Website, “Download the                                Dataset”   page,   (available   at
https://commonvoice.mozilla.org/en/datasets) (last verified, August 1, 2024)
44
  Heiga Zen, et. al., LibriTTS: A Corpus Derived from LibriSpeech for Text-to-Speech (2019) (explaining why corpus
designed for speech-to-text was inadequate to train a text-to-speech system).
45
     See LibriVox Website (available at https://librivox.org/) (last verified April 2, 2024).
46
     Id.



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quality text-to-speech systems, including low sample rate recordings, low bit-depth recordings,

use of poor-quality microphones, poor signal-to-noise ratios, suboptimal ambient recording

conditions, highly inconsistent narration quality,47 unclear enunciation, and inappropriate style and

delivery.48

        105.     As a result, training a state-of-the-art text-to-speech system solely on the Librivox

repository, even with pre-processing, will not yield the high-quality, natural-sounding output that

ElevenLabs’ AI system produces.

        106.     Even setting aside these issues, the Librivox repository does not contain sufficient

high-quality audio to train a system with the capabilities of the ElevenLabs system.

        107.     By August 2023, ElevenLabs’ Multilingual v2 model could convert text to speech

using its “default” voices, including “Adam” and “Bella,” in 28 languages—including French,

German, Hindi, Italian, Polish, Portuguese, and Spanish,49 as well as Chinese, Korean, Dutch,

Turkish, Swedish, Indonesian, Filipino, Japanese, Ukrainian, Greek, Czech, Finnish, Romanian,

Danish, Bulgarian, Maylay, Slovak, Croatian, Classic Arabic, and Tamil.50

        108.     As ElevenLabs readily admits on its website, “[t]he quality of TTS in any language



47
  See, LibriS2S: A German-English Speech-to-Speech Translation Corpus, Pedro Jeuris and Jan Niehues, Maastricht
University (April 22, 2022) (discussing advantages and disadvantages of Librivox dataset) (available at
https://arxiv.org/pdf/2204.10593.pdf) (e.g., “The speakers that record the audio books on librivox do not always have
access to a high-quality microphone. Because of this it can be challenging to create a TTS system for a single
speaker.”); Learning from Flawed Data: weakly supervised automatic speech recognition, Dongji Gao, Johns Hopkins
University, Nvidia, and Xiaomi Corp. (September 26, 2023), (available at https://arxiv.org/pdf/2309.15796.pdf) (last
verified April 2, 2024).
48
  Dongji Gao, Johns Hopkins University, Nvidia, and Xiaomi Corp. Learning from Flawed Data: weakly supervised
automatic speech recognition (September 26, 2023), (available at https://arxiv.org/pdf/2309.15796.pdf) (last verified
April 2, 2024) (addressing problems with Librivox data even for speech-to-text training).
49
   ElevenLabs Website, Blog, April 27, 2023, by ElevenLabs Team, Introducing ElevenLabs Multilingual v1: Our
New Speech Synthesis Model, (available at https://elevenlabs.io/blog/eleven-multilingual-v1/) (with article narration
in “Adam” voice).
50
   See ElevenLabs Website, Blog Entry, August 22, 2023, by ElevenLabs Team Multilingual v2 (available at
https://elevenlabs.io/blog/multilingualv2/).



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depends on the depth of the dataset it’s trained on and the sophistication of the algorithms used.”51

Yet, the Librivox repository has a total of:

            Only 5 short works in Korean—two of which are only partly in Korean;

            Only 6 books in Czech;

            Only 2 books in Slovak;52

            Only 5 books in Turkish;

            Only 5 books in Croatian;

            Only 7 books in Tamil;

            Only 11 books in Bulgarian; and

            Zero recordings in Filipino.53

        109.     In short, on information and belief, ElevenLabs’ claim in September 2023 that it

had trained its text-to-speech model solely using data from the Common Voice and Librivox

repositories is false.

        110.     In comparison, Microsoft’s VALLE-X system released in 2023, which can convert

text to speech only in English and Chinese, was trained on 60,000 hours of high-quality audiobook

recordings in English, and 10,000 hours of recordings in Chinese, as well as the MT data from AI

Challenger5, OpenSubtitles20186 and WMT20207, which contain about 13M, 10M, and 50M

text-speech pairs, respectively.54



51
   May 1, 2023, ElevenLabs Website, Blog, Mati Staniszewski (available at https://elevenlabs.io/blog/what-is-text-
to-speech/).
52
   Likewise, the Common Voice Corpus has only 27 hours of audio recorded, with a total of 22 validated hours—
likely comprised of the same material.
53
     See Mozilla Common Voice website,                at    Datasets   (under   Language    tab)   (available   at
https://commonvoice.mozilla.org/en/datasets).
54
  Microsoft, Speak Foreign Languages with Your Own Voice: Cross-Lingual Neural Codec Language Modeling
(available at https://arxiv.org/pdf/2303.03926.pdf).



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           111.     The ByteDance (Tik-Tok) Polyvoice system was trained on 140,000 hours of

speech.55

           112.     Meta’s Voicebox multilingual text-to-speech system has vocal cloning capabilities

and can synthesize speech in English, French, German, Spanish, Polish and Portuguese.56 It was

trained on 60,000 high quality hours of English audio and 50,000 hours of multi-lingual audio

(French, German, Spanish, Polish, and Portuguese).57

           113.     Google’s Soundstorm acoustic model was trained on 60,000 hours of English

speech data from the libri-light corpus to generate acoustic features from semantic tokens.58

However, to enable the full text-to-speech system, it requires a separate text-to-semantic

transformer model trained to map text to the semantic token inputs which was trained on a separate

dataset of 100,000 additional (distinct) hours of English-language dialogues.59

           114.     The quantity of high-quality audio data required to train a state-of-the-art text-to-

speech system with the capabilities of the ElevenLabs system—whose system includes text-to-

speech, voice cloning, and multi-lingual voice-to-voice translation capabilities in 29 languages—

vastly exceeds the quantity of such content available within the LibriVox and Common Voice

repositories, and required ElevenLabs to scrape, download, or otherwise obtain copyrighted audio

recordings and use them without permission to train its AI systems.

           115.     Indeed, by its own admission—prior to releasing its first monolingual (English


55
     ByteDance, Polyvoice, https://arxiv.org/pdf/2306.02982.pdf (2023) (speech to speech translation model).
56
  See Meta, Matthew Le et al., Voicebox: Text-Guided Multiilngual Universal Speech Generation at Scale, (June 23,
2023) (available at https://arxiv.org/pdf/2306.15687.pdf).
57
  See Meta, Matthew Le et al., Voicebox: Text-Guided Multiilngual Universal Speech Generation at Scale, (June 23,
2023) (available at https://arxiv.org/pdf/2306.15687.pdf).
58
   Zalan Borsos, et al. Google, Soundstorm: Efficient Parallel Audio Generation (May 16, 2023) (available at
https://arxiv.org/pdf/2305.09636.pdf).
59
   Zalan Borsos, et al. Google, Soundstorm: Efficient Parallel Audio Generation (May 16, 2023) (available at
https://arxiv.org/pdf/2305.09636.pdf).



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only) Speech Synthesis model—ElevenLabs had already trained its Speech Synthesis model on

500,000 hours of audio.60

        116.     On information and belief, ElevenLabs obtained the recordings for its training

corpus from sources including the open internet, “torrent” file-sharing sites, and/or by creating

unauthorized copies of audio recordings distributed legally through audiobook subscription

services like Amazon’s Audible service.

F.      ElevenLabs’ misappropriation of the Voice-Actor Plaintiffs’ voices and likenesses
        causes irreparable injury that cannot be quantified.

        1.       Injury to the Voice-Actor Plaintiffs

        117.     A professional narrator brings his or her unique vocal presence, character, and

speaking style to bear on written works to craft clear and emotionally resonant audio narrations

that engage and delight audiences.

        118.     A professional voice actor develops his or her unique vocal presence, character, and

speaking style, through years of training, practice, and refinement.

        119.     A professional voice actor’s unique vocal presence and speaking style is

inseparable from his individual identity; those who hear it recognize him or her as the speaker.

        120.     A professional voice actor’s unique voice and style is likewise inseparably

associated with his body of work and professional identity as an artist. The recordings of a

professional voice actor’s performances define his or her character, style, and identity as an artist

to the public.

        121.     For this reason, voice actors must curate the projects with which he or she is

associated. The roles they accept and the content they narrate become intrinsically linked to their



60
   ElevenLabs Website, Blog, by ElevenLabs Team, November 24, 2022, The first AI that can laugh (available at
https://elevenlabs.io/blog/the_first_ai_that_can_laugh/).



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professional identity. The audience develops an association between the voice actor’s voice and

the various characters or narratives he or she has brought to life. By consistently engaging in high-

quality, on-brand work, voice actors cultivate a reputation for excellence and reliability, ensuring

that their voice remains a valuable presence in the industry.

         122.   The “Adam” voice is substantially similar to and recognizable by others as Boyett’s

voice.

         123.   The “Bella” voice is substantially similar to and recognizable by others as Vacker’s

voice.

         124.   ElevenLabs has broadcast and performed on its website some unknown number of

audio recordings narrated in its default “Adam” and “Bella” default voices, inviting any visitor to

its website to enter text and obtain a professional voice actor narration using its “Adam” and

“Bella” voice clones.

         125.   Moreover, ElevenLabs grants its users unrestricted full rights to download the

synthetic audio narrations they created and use them for any commercial purpose, enabling users

to copy, distribute, sell, and/or otherwise use and disseminate the audio narration for commercial

purposes in their own projects.

         126.   As a result, Vacker’s and Boyett’s voices and identities are being utilized in a vast

assortment of media, including low-budget or irreputable projects, to promote messaging over

which they have no control.

                i.      Injury to Boyett

         127.   ElevenLabs’ use of Boyett’s voice and style has caused and continues to cause him

irreparable harm and injury, including:

                a.      Misappropriating his likeness, identity, and infringing his publicity rights

         by creating audio narrations in his voice, style, and likeness, without his consent or


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       compensation, and performing them on its website to promote its text-to-speech service to

       attract new users;

               b.     Distributing recordings of audio narrations created in Boyett’s voice, style,

       and likeness to users to use as they wish=, thereby implying Boyett’s endorsement or

       affiliation with not only ElevenLabs’ service but the projects and messaging of its users.

       As a result, Boyett’s unique voice and style is used without his consent in projects with

       which he has no affiliation to promote messages over which he has no control, thereby

       damaging and diluting Boyett’s reputation and credibility as a voice actor;

               c.     Engaging in unfair competition and false advertising by deceiving or

       misleading consumers or potential consumers by using Boyett’s voice—which is

       associated with his reputation and goodwill—to promote or sell its service, and by creating

       a likelihood of confusion or deception to the public;

               d.     Diminishing Boyett’s marketability and value as a voice actor by saturating

       the market with his voice and creating a virtually free substitute for his services; and

               e.     Causing Boyett emotional distress and anguish by violating his privacy and

       dignity and by exploiting his voice for ElevenLabs’ benefit.

               ii.    Injury to Vacker

       128.    ElevenLabs’ use of Vacker’s voice has caused and continues to cause her

irreparable harm and injury, including:

               a.     Misappropriating Vacker’s likeness and identity and infringing her

       publicity rights by using her voice without her consent or compensation to promote its text-

       to-speech service to attract new users;

               b.     Implying Vacker’s endorsement or affiliation with not only ElevenLabs’

       service—but the projects and content created by its users. As a result, Vacker’s unique


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        voice and likeness is used without her consent, associated with projects with which she has

        no affiliation, promotes messages over which she has no control, damages and dilutes

        Vacker’s reputation and credibility as a voice actor;

                c.        Engaging in unfair competition and false advertising by deceiving or

        misleading consumers using Vacker’s voice which is associated with her reputation and

        goodwill to promote or sell its service, and by creating a likelihood of confusion or

        deception;

                d.        Diminishing Vacker’s marketability and value as a voice actor by saturating

        the market with her voice and by creating a virtually free substitute for her services; and

                e.        Causing Vacker emotional distress and anguish by violating her privacy and

        dignity and by exploiting her voice for ElevenLabs’ benefit.

        129.    On information and belief, ElevenLabs knowingly used recordings narrated by

Vacker and Boyett—both successful professional voice actors who gain their livelihood by

delighting audiences with their narrations of text—to train or to select the default ElevenLabs

voices “Bella” and “Adam,” respectively.

                                       CLAIMS FOR RELIEF

A.      Infringement of Personality Rights, Including the Right to Privacy, Rights of
        Publicity, and Misappropriation of Likeness or Identity.

        1.      Invasion of Privacy, through the Misappropriation of Vacker’s Likeness and
                Right of Publicity, under Texas Common Law

        130.    Plaintiffs incorporate by reference the allegations in paragraphs 1 through 129 as if

fully set forth herein.

        131.    Vacker’s voice, character and style of vocal delivery is a distinctive and

recognizable aspect of her identity.

        132.    Vacker’s voice is also highly valuable. Indeed, Vacker earns her livelihood by


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charging fees for her services narrating text in her distinctive voice and vocal style.

       133.    ElevenLabs used Vacker’s voice, or a copy thereof, without Vacker’s authorization,

consent, or compensation. Vacker learned that ElevenLabs had ‘cloned’ her voice and was

delivering recordings in her unique and recognizable voice and likeness through third parties.

       134.    ElevenLabs used Vacker’s voice and likeness for commercial purposes, including:

               a.       To promote its own services by offering at least 1 million new potential

customers the free use of the “Bella” voice, resulting in ElevenLabs gaining over 1 million

registered users in the first six months of being launched, and some unknown number of registered

users thereafter; and

               b.       Distributing audio files of text narrated in the voice and likeness of Vacker

to its users in exchange for subscription fees and usage-based fees for the use of its text-to-speech

services accessed through its website and API.

       135.    Even after ElevenLabs removed “Bella” from its website, on information and

belief, ElevenLabs continued to allow its API users to create and market synthetic audio narrations

using the “Bella” voice rendered in the voice and likeness of Vacker, and has allowed users to

recreate substantially similar voices to “Bella” and Vacker.

       136.    ElevenLabs’ use of Vacker’s voice has caused and continues to cause harm and

confusion to Vacker, by implying her endorsement or affiliation with ElevenLabs’ service,

violating her privacy and dignity, and exploiting her voice for ElevenLabs’ benefit.

       137.    ElevenLabs’ use of the “Bella” (or substantially similar) voice and its decision to

allow users, in exchange for compensation, to download audio recordings of text narrated in the

unique likeness of Vacker’s voice, accent, timbre and style has caused and continues to cause harm

and confusion to Vacker, by implying Vacker’s endorsement or affiliation with the projects,




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services, and messaging of ElevenLabs’ users; by saturating the market with Vacker’s voice,

diminishing her brand and demand for her services; and creating an unauthorized and unlicensed

alternative for her services.

       138.    ElevenLabs’ acts constitute a willful and intentional misappropriation of Vacker’s

likeness, identity, and an infringement of her publicity rights, in violation of the common law.

       139.    ElevenLabs has profited from its misappropriation of Vacker’s voice and talents—

enticing users to join its service, based in part on the quality of Vacker’s narrations and identifiable

voice and style—by gaining millions of new users delighted by the narrations they “generated,”

and by securing over $100 million in new investment, helping to increase the estimated company

valuation to over $1 billion.

       140.    Moreover, Vacker has suffered and continues to suffer actual damages, including

lost profits and royalties, in an amount to be proven at trial, and is entitled to statutory damages,

in an amount to be determined by the Court, pursuant to applicable laws.

       141.    Vacker also is entitled to recover other monetary relief, including the advantage or

benefit derived from ElevenLabs’ unauthorized use of her likeness.

       142.    Vacker is also entitled to injunctive relief, preventing ElevenLabs from further

misappropriating Vacker’s likeness or identity through the distribution of audio narrations

delivered in her unique voice, style and likeness, requiring ElevenLabs to remove or delete any

content or materials that use or feature the “Bella” (or substantially similar) voice on ElevenLabs’

website or any other media or platform, instructing its users to do the same, and take steps to

prevent users from cloning Vacker’s voice using ElevenLabs’ system.

               b.      Unjust Enrichment under Texas Law

       143.    Vacker’s unique voice and vocal style are highly valuable assets that are

inextricably linked to her personal and professional identity as a voice actor. ElevenLabs, without


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Vacker’s authorization or consent, has misappropriated her voice and identity by creating a voice

clone named “Bella” (and allowing its users to create substantially similar voice clones) that

closely matches Vacker’s distinctive vocal timbre, accent, intonation, pacing, vocal mannerisms,

and speaking style. This voice clone was used to promote ElevenLabs’ services, attract millions of

users, and generate significant revenue, market value, and investment for the company. By using

this voice clone without Vacker’s permission, ElevenLabs has profited from her valuable assets

and caused harm to her professional reputation and potential income.

           144.   As a direct result of ElevenLabs’ actions, Vacker has suffered economic losses,

damage to her professional reputation, and significant emotional distress. Vacker seeks injunctive

relief to prevent further misuse of her voice by ElevenLabs, damages to compensate for the harm

she has already suffered, and other available monetary relief.

                     b. Misappropriation of Boyett’s Likeness and Publicity Rights Under
                        New York Civil Rights Law § 51

           145.   Plaintiffs incorporate by reference the allegations in paragraphs 1 through 144 as if

fully set forth herein.

           146.   Boyett’s voice is a distinctive and recognizable aspect of his identity, and the very

source of his livelihood. This right is protected by the common law and statutory law of New York

and other states.

           147.   ElevenLabs has used Boyett’s voice, or a copy or imitation thereof, without

Boyett’s authorization, consent, or compensation. Indeed, Boyett learned that ElevenLabs had

‘cloned’ his voice and was delivering recordings in his unique voice and likeness through third

parties.

           148.   ElevenLabs is using Boyett’s voice and likeness for commercial purposes,

including:



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            a. To promote its own services by offering at least 1 million new potential customers

               the free use of the “Adam” voice, resulting in ElevenLabs gaining over 1 million

               registered users in the first six months after launching, and some unknown number

               of registered users thereafter; and

            b. To generate subscription and usage-based fees for the use of its text-to-speech

               services accessed through its website and API.

       149.    ElevenLabs continues to promote the “Adam” voice on its website and allow users

to create synthetic audio narrations in the voice and likeness of “Adam.”

       150.    Defendant’s use of the “Adam” voice—and more specifically, its decision to allow

users, in exchange for compensation, to download audio recordings of text narrated in the unique

likeness of Boyett’s voice, accent, timbre and style—has caused and continues to cause harm and

confusion to Boyett by implying his endorsement of or affiliation with the projects, services, and

messaging of ElevenLabs’ users; by saturating the market with his voice, diminishing his brand

and demand for his services; and creating an unauthorized and unlicensed alternative for his

services.

       151.    Narrations in the “Adam” voice and its progeny are being created and delivered to

users in the state of New York.

       152.    ElevenLabs’ acts constitute willful and intentional misappropriation of Boyett’s

likeness or identity, in violation of the common law and statutory law of New York.

B.     Claims for Violation of the Digital Millennium Copyright Act
       (Author/Publisher Plaintiffs)

       1. Violation of DMCA Anticircumvention Provisions, 17 U.S.C. §§ 1201 and 1203

       153.    Author/Publisher Plaintiffs incorporate by reference the allegations in paragraphs

1 through 152 as if fully set forth herein.



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       154.     The DMCA provides two important protections for copyrighted works: (1) Section

1201 prohibits the circumvention of technological measures that effectively control access to a

copyrighted work, and (2) Section 1202 prohibits the removal or alteration of copyright

management information, including watermarks and copyright ownership information.

       155.     As discussed above, ElevenLabs has used a substantial number of Author/Publisher

Plaintiffs’ copyrighted audio recordings to train its AI system, as achieving the system’s level of

realism and authenticity in the “Bella” and “Adam” default voices required a significant quantity

of high-quality training data of Boyett’s and Vacker’s specific recordings. Contrary to ElevenLabs’

claims, ElevenLabs could not have randomly generated hundreds of voices from a near-infinite set

of possibilities, and by dumb luck generated two voices recognizable in all aspects to two

professional voice actors specializing in audiobook narration.

       2. Violation of DMCA § 1201(a)(1)(A) (The Author/Publisher Plaintiffs)

       156.     Under DMCA § 1201(a)(1)(A), “No person shall circumvent a technological

measure that effectively controls access to a work protected under this title.” This provision is

designed to protect copyrighted works from unauthorized access by prohibiting the circumvention

of technological measures, such as encryption and digital rights management (“DRM”)

technologies.

       157.     Author/Publisher Plaintiffs’ audiobook narrations are legally distributed via the

internet exclusively through digital files protected by technological measures, including

encryption and DRM technologies, which effectively control access to these copyrighted works

and prevent unauthorized copying through technological means. Additionally, these files contain

copyright management information, such as watermarks and metadata, that identify the work, the

author, and the copyright owner.

       158.     For ElevenLabs to use Author/Publisher Plaintiffs’ professional audiobook


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narrations, which are distributed for profit by Amazon and other online retailers in DRM-protected

formats, to train its text-to-speech system ElevenLabs must first circumvent the DRM protections.

These DRM protections control access to the works by ensuring that only licensed copies of the

works are readable, using technological means to prevent unauthorized copying or modification

of these files or their contents—including the extraction and conversion of their contents into

unprotected formats. This process would involve decrypting the files and removing the DRM

protections, in violation of Section 1201(a)(1) of the DMCA.

       159.    The process of preparing the audio files for use in training a neural network text-

to-speech system like ElevenLabs’ speech synthesis system requires several transformations that

necessitate the creation of additional unauthorized copies. These transformations require at least

some—and potentially all—of the following steps: (a) converting each audio recording to a

recording with a standard sampling rate (and likely, standard bit-depth and encoding format); (b)

segmenting the audio recording into segments of shorter duration; (c) processing the audio

recording to remove background noise; (d) normalizing the volume of individual segments; and

(e) removing long pauses (silence) at the beginning, end, and/or within the recording.

       160.    The DRM protections on Author/Publisher Plaintiffs’ audiobook narrations prevent

the creation of such copies or any modification of the original files without authorization.

       161.    Circumventing these DRM protections is necessary to enable ElevenLabs to ingest

the protected works into its AI training system.

       162.    By circumventing these DRM protections to create the necessary copies for its AI

training pipeline, ElevenLabs violated Section 1201(a)(1) of the DMCA.

       Violation of DMCA § 1201(a)(2)

       163.    Section 1201(a)(2) prohibits the manufacture of any tools or services designed to

circumvent technological protection measures. Author/Publisher Plaintiffs’ literary works and


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audiobook narrations are distributed through Amazon and other online retailers in file formats

subject to technological protection measures. Specifically, the DRM that protects Author/Publisher

Plaintiffs’ works uses technological measures to prevent unauthorized persons from opening the

file, copying, modifying, or converting its contents into an unprotected format.

         164.   On information and belief, ElevenLabs created data processing procedures and/or

processes to streamline the removal of DRM protections from DRM-protected works (including

but not limited to e-books and professionally narrated audiobook recordings distributed through

online marketplaces and/or subscription services) and convert the audio and/or text to an

unprotected format that can be copied, segmented, and used to train its AI models, in violation of

§ 1201(a)(2).

         Violation of 17 U.S.C. § 1202(b) (The Author/Publisher Plaintiffs)

         165.   Section 1202(b) prohibits the intentional removal or alteration of copyright

management information, which includes identifying information about the work, the author, the

copyright owner, and the terms and conditions for use of the work. This provision helps to ensure

the integrity of copyright ownership information and prevent the unauthorized use of copyrighted

works.

         166.   The audiobook narrations performed by Boyett for the Author/Publisher Plaintiffs

contain Copyright Management Information (“CMI”), including metadata identifying the work,

the author, the narrator, the copyright owner, and other related information. This CMI is conveyed

in connection with the narrations and is protected under 17 U.S.C. § 1202(c).

         167.   On information and belief, to use the Author/Publisher Plaintiffs’ audiobook

narrations as training data for its AI system, ElevenLabs intentionally removed or altered the CMI

from the digital audio files.

         168.   The removal or alteration of the CMI was necessary to enable ElevenLabs to ingest


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the audio files into its AI training system.

       169.    Watermarks do not contribute to the linguistic or acoustic information necessary

for training a TTS system. The CMI does not contain any phonetic information relevant to the AI

training process and would likely confuse or corrupt the system if not removed. In fact, the

presence of watermarks can interfere with the training process in several ways:

           a. Noise introduction: Audible watermarks can be perceived as noise or distortions

               in the audio signal. This extra noise can confuse the AI model during training, as it

               may try to learn patterns from the watermark rather than the actual speech content.

           b. Inconsistency: Watermarks may not be present uniformly throughout the audio

               recordings. This inconsistency can lead to the AI model learning incorrect

               associations between the text and the acoustic features.

           c. Lack of relevance: Watermarks do not carry any meaningful information related

               to the text or the speech itself. Including them in the training data would not

               contribute to the AI model’s ability to generate human-like speech from input text.

           d. Potential bias and/or interference: If watermarks are present in some recordings

               but not others, the AI model might learn to associate certain acoustic features with

               the presence or absence of watermarks, introducing bias into the generated speech

               and/or otherwise interfere with training. To ensure the effective training of a TTS

               system, it is essential to use clean, high-quality speech data that accurately

               represents the relationship between the text and the corresponding acoustic

               features.

       170.    Removing watermarks from the training data helps to eliminate potential sources

of noise, inconsistency, and bias, allowing the AI model to focus on learning the relevant patterns




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for generating human-like speech.

       171.    ElevenLabs engaged in these acts knowing, or having reasonable grounds to know,

that doing so would induce, enable, facilitate or conceal an infringement of copyright in the

audiobook narrations.

       172.    ElevenLabs’ conduct violates 17 U.S.C. § 1202(b)(1) and (3).

       173.    The Author/Publisher Plaintiffs have suffered actual damages as a result of

ElevenLabs’ violations of Section 1202 of the DMCA, in the form of lost licensing fees.

       174.    Pursuant to 17 U.S.C. § 1203(c), the Author/Publisher Plaintiffs are entitled to

recover from ElevenLabs the actual damages they suffered due to ElevenLabs’ violations of §

1202 of the DMCA, and any profits of ElevenLabs attributable to the violations not taken into

account in computing actual damages, or, at the Author/Publisher Plaintiffs’ election, statutory

damages.

       175.    ElevenLabs’ conduct has caused irreparable harm to the Author/Publisher

Plaintiffs, and unless restrained and enjoined, will continue to cause irreparable harm to the

Author/Publisher Plaintiffs, by creating unlicensed and unauthorized copies of their work that are

free of DRM and copyright information, and risking their inclusion in future datasets used by

ElevenLabs, its employees, and/or distributed to others for use in AI training.

       176.    The Author/Publisher Plaintiffs are entitled to injunctive relief to prevent

ElevenLabs from engaging in further violations of Sections 1201 and 1202 of the DMCA pursuant

to 17 U.S.C. § 1203(b).

       177.    On information and belief, ElevenLabs circumvented the technological measures

protecting the Author/Publisher Plaintiffs’ audiobook narrations and removed or altered the CMI

associated with these files, without authorization, to train its AI systems.




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       178.    ElevenLabs’ actions constitute violations of both Section 1201(a)(1)(A) and

Section 1202(b) of the DMCA.

       179.    Under Section 1203 of the DMCA, the Author/Publisher Plaintiffs, as the injured

parties, are entitled to injunctive relief, actual damages, the recovery of any ill-gotten gains,

statutory damages, and attorney’s fees and costs.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray for the following relief:

       (A)     A permanent injunction enjoining ElevenLabs from creating and distributing to its

users any synthetic audio recordings of audio narrations generated in the likeness of Vacker’s or

Boyett’s voices, without permission, and requiring ElevenLabs to (i) instruct its users not to create

further recordings using “Bella,” “Adam,” or any other substantially similar voice clone, and (ii)

take other reasonable and necessary steps to prevent further use of Bella, Adam, or substantially

similar voice clones;

       (B)     An award to the Voice-Actor Plaintiffs, for damages and other monetary relief, as

a result of ElevenLabs’ infringement of their publicity rights and misappropriation of their voices

and likenesses for commercial gain, including but not limited to ElevenLabs’ ill-gotten gains,

Voice-Actor Plaintiff’s lost profits, or both—and no less than a reasonable royalty together with

interest and costs—in an amount to be determined at trial;

       (C)     An award to the Author/Publisher Plaintiffs for damages and other monetary relief,

as a result of ElevenLabs’ violation of DMCA’s Digital Anticircumvention Provisions, under

Sections 1201-1203;

       (D)     An award to the Voice-Actor Plaintiffs for exemplary damages under N.Y. Civ.

Rights Law § 51 and Texas law, in an amount to be determined at trial, for the knowing use of

such Voice-Actor Plaintiffs’ voices and likenesses without authorization;


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       (E)    That this Court assess pre-judgment and post-judgment interest and costs;

       (F)    That this Court award reasonable attorneys’ fees; and

       (G)    Such other and further relief as this Court may deem just and proper.

                               DEMAND FOR A JURY TRIAL

       Plaintiffs demand a trial by jury of all matters to which it is entitled pursuant to Federal

Rule of Civil Procedure 38.



 Dated: August 29, 2024                        Respectfully submitted,

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